             Case 2:10-cr-00305-MCE Document 116 Filed 07/25/14 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 PHILIP A. FERRARI
   MICHELE BECKWITH
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-305 LKK
12                                Plaintiff,            ORDER RE: SCHEDULING STATUS
                                                        CONFERENCE AND EXCLUDING TIME UNDER
13                          v.                          SPEEDY TRIAL ACT
14   SIAVASH POURSARTIP, ET AL.,                        DATE: July 22, 2014
                                                        TIME: 9:15 a.m.
15                               Defendants.            COURT: Hon. Lawrence K. Karlton
16

17          On July 22, 2014, the Court held a status conference in this case. Assistant United States
18 Attorneys Michele Beckwith and Philip A. Ferrari appeared on behalf of plaintiff, the United States of

19 America. Christopher H. Wing and Richard Pachter appeared on behalf of defendants Sara Shirazi and

20 Siavash Poursartip, respectively, both of whom have a waiver of appearance on file.

21          At the hearing, the Court heard argument from counsel on defendant Shirazi’s motion to sever,
22 which the government opposed. In light of Mr. Wing’s representations that additional time is needed to

23 obtain a diagnosis for Ms. Shirazi, the Court deferred ruling on the motion, and granted a continuance

24 for a further status conference to October 7, 2014, at 9:15 a.m.

25          This Court has previously found this case to be complex, and time is excluded on that basis
26 under local code T2 (18 U.S.C. § 3161(h)(7)(B)(ii)), as well as under local code T4 (18 U.S.C. §

27 3161(h)(7)(B)(iv)), based on the availability of counsel and the need for additional time to prepare,

28 taking into account the exercise of due diligence.

      [PROPOSED] ORDER RE: SCHEDULING STATUS            1
      CONFERENCE AND EXCLUDING TIME
             Case 2:10-cr-00305-MCE Document 116 Filed 07/25/14 Page 2 of 2


 1          Having found that the ends of justice served by continuing the case as requested outweigh the

 2 interest of the public and the defendant in a trial within the original date prescribed by the Speedy Trial

 3 Act, the Court hereby excludes time from July 22, 2014, to, and including, October 7, 2014, from

 4 computation of time within which the trial of this matter must be commenced, pursuant to Local

 5 Code T4 and T2.

 6

 7 Dated: July 25, 2014

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      [PROPOSED] ORDER RE: SCHEDULING STATUS             2
      CONFERENCE AND EXCLUDING TIME
